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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE

IN RE:

WILLIAM EUGENE HENRY, JR.,                           Case No. 17-28557
                                                     Chapter 7
         Debtor.


      MOTION TO EXTEND TIME TO OBJECT TO DISCHARGE AND TO THE
                    DISCHARGE OF CERTAIN DEBTS


         Comes now, Genesis Capital Ventures, LLC (“Creditor”), and moves the Court to extend

the time to object to the discharge of the Debtor and to the discharge of certain types of debts

under Sections 523 and 727 of the United States Bankruptcy Code and in support thereof

Creditor would show that:

         1.    On January 11, 2017, Debtor filed a voluntary bankruptcy petition under Case No.

17-20303 under Chapter 13, Title 11, United States Code, for the entry of an order of relief. Said

case was dismissed on March 30, 2017, for failure to comply with Standing Order No. 05-0004.

         2.    On April 6, 2017, Debtor filed a voluntary bankruptcy petition under Case No.

17-23099 under Chapter 13, Title 11, United States Code, for the entry of an order of relief. Said

case was dismissed on June 12, 2017, for failure to comply with Standing Order No. 05-0004.

         3.    On September 28, 2017, Debtor filed a voluntary bankruptcy petition under Case

No. 17-28557 under Chapter 7, Title 11, United States Code, for the entry of an order of relief.

         4.    Creditor is a creditor of RCI Restoration Services, Inc. (“RCI”), pursuant to a

Platinum Receivable Management Program Accounts Receivable Purchase agreement, executed

by Debtor in his capacity as CEO of RCI on January 21, 2016 (“the PRMP”). Debtor has listed

the debt owed to Creditor as individual debt in his current case and in his most recently prior
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Chapter 13 case. At the time RCI entered into the PRMP with Creditor, RCI was

administratively dissolved, effectively causing RCI to enter into the PRMP as a sole-

proprietorship, making Debtor personally liable to Creditor under the PRMP. See In re Erskine,

550 B.R. 362, 371 (Bankr. W.D. Tenn. 2016).

       5.      The Deadline to file an objection to discharge is set for February 19, 2018.

       6.      Creditor retained the undersigned counsel on February 14, 2018.

       7.      Creditor and Debtor (and RCI and affiliated entities) are engaged in pre-petition

ongoing state court litigation pending the Circuit Court of Tennessee for the Thirtieth Judicial

District in case no. CT-000672-17.

       8.      The § 341 meeting of creditors occurred on January 10, 2018.

       9.      Creditor has not yet been able to schedule a 2004 examination to evaluate

Debtor’s claimed amounts in his petition. To the extent Debtor produces documentary evidence

related to a 2004 examination, Creditor anticipates that it will need additional time to review the

documentation. Creditor believes it is too early in the administration of the case for Creditor to

make well-informed decisions on its behalf.

       10.     Creditor is requesting an extension of the deadlines to object to Debtor’s

discharge and to the discharge of certain debts by ninety days to investigate Debtor’s affairs,

review documents, and to evaluate the necessity to notice a 2004 examination of Debtor.

       WHEREFOR, PREMISES CONSIDERED, Genesis Capital Ventures, LLC, moves the

Court to extend the time to object to the discharge of Debtor and to the discharge of certain debts

under Sections 523 and 727 of the United States Bankruptcy Code by ninety (90) days or until

such time as Creditor has conducted a proper investigation of Debtor’s affairs.
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                                           Respectfully Submitted,

                                           /s/ R. Lee Webber
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                                           Reviewed and approved for filing:

                                           /s/ Chelsea Rae Clark
                                           Chelsea Rae Clark
                                           General Counsel
                                           Genesis Capital Ventures, LLC
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                                           Aspen, CO 81611


         CERTIFICATE OF SERVICE/PLEASE SERVICE THE FOLLOWING

       I, R. Lee Webber, do hereby certify that I have served a true and correct copy of the
forgoing pleading on the following interested parties via CM/ECF electronic filing or via U.S.
Mail this the 15th day of February, 2018.

                                           /s/ R. Lee Webber
                                           R. Lee Webber
Debtor

Debtor’s Attorney

Chapter 7 Trustee
